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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES — GENERAL

Case No. 2:22-cv-06525-MCS-E Date May 22, 2023
Title William Baker v. Twitter, Inc. et al

 

 

 

Present: The Honorable Mark C. Scarsi, United States District Judge

 

 

Stephen Montes Kerr CourtSmart
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
Jaime A. Bartlett
Jonathan R. Horne George M. Garvey
Jonathan D. Park Susan E. Engel
Sheridan Caldwell

Proceedings: Motion to Dismiss Case Defendants Jack Dorsey, Parag
Agrawal, Ned Segal, Vijaya Gadde, and Kayvon Keypours (ECF No. 86) and
Motion to Dismiss Corrected Amended Class Action Complaint by Defendant
Twitter, Inc. (ECF No. 87)

The motion hearing is held. Counsel address the Court. The Court takes the
Motions UNDER SUBMISSION and a ruling will be issued.

IT IS SO ORDERED.

 

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Initials of Deputy Clerk SMO

 

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